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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )      4:07CR3079
                                              )
              v.                              )      ORDER
                                              )
JOSE ROMO-CORRALES, and                       )
FRANCISCO GALVAN-VALDEZ,                      )
                                              )
                      Defendants.             )


       This matter comes before the Court on the Plaintiff’s Unopposed Motion to Continue Motion
Hearing, filing 60.

       The Court, being duly advised in the premises, find that the Motion should be granted. The
motion to suppress hearing is rescheduled to July 21, 2008 at 1:30 p.m.

       Dated this 13th day of June, 2008.


                                              BY THE COURT


                                              s/  David L. Piester
                                              David L. Piester
                                              United States Magistrate Judge
